AO 106 (Rev. 04/10) Application for a Search Warrant ;

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

https://www.facebook.com/AndyKush
Facebook Username: Dee Andy
Facebook User ID: 742840146

Case No. / 7-M 2 al e

 

a

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
m@ contraband, fruits of crime, or other items illegally possessed;
mi property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 18, United States Code, 922(a)(6), Title 18, United States Code, 922(d), and Title 18, United
States Code, 922(g)

The application is based on these facts: See attached affidavit.

1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

Applicant’s signature

Special Agent Sean Carlson, ATF
Printed Name and Title

Sworn to before me and signed in my presence: D\

Date: Wer. iZ% 29) |, ee
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City and State: Milwaukes. Wiseensit99247-DEJ Filed 02
AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Sean Carlson, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with certain Facebook user IDs that are stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of
an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b){1)(A) and
2703(c)(1)(A) to require Facebook to disclose to the government records and other
information in its possession, pertaining to the subscribers or customers associated with
the user IDs.

2. It is believed that the information associated with the Facebook User IDs
described below may contain evidence of violations of Title 18, United States Code,
922(a)(6) (any person in acquisition of any firearm knowingly furnish a false written or
oral statement intended to deceive the dealer), Title 18, United States Code, 922(d) (sale
or transfer of firearm to a prohibited person), and Title 18, United States Code, 922(g)
(possession of a firearm by a prohibited person). As a result, a request is submitted for
a search warrant to review information associated with the Facebook User IDs. The
information to be searched is described in the following paragraphs and in Attachments

AandB.

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3. Your Affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and has been so employed since November of 2015. As an ATF Agent,
your Affiant has participated in numerous investigations regarding the unlawful
possession of firearms by convicted felons and has also conducted investigations related to
the unlawful use of firearms, firearms trafficking, drug trafficking, and arson. Also, in
preparation for employment as an ATF Special Agent, your Affiant has attended the
Federal Law Enforcement Training Center, and received considerable training in firearm
trafficking investigation, as well as Federal firearm law.

4.Prior to my employment at ATF, your Affiant was a Patrol Officer at the
Hammond Police Department in Hammond, Indiana for over four (4) years.

5. Your Affiant has participated in several firearms trafficking investigations that
involved the seizure of computers, cellular phones, cameras, and other digital storage
devices, and the subsequent analysis of electronic data stored within these computers,
cellular phones, cameras, and other digital storage devices. In many occasions, this
electronic data has provided evidence of the crimes being investigated and corroborated
information already known or suspected by law enforcement.

6. Furthermore, your Affiant knows from training and experience it is common for
drug users, drug dealers, firearms traffickers, and firearms straw purchasers to
communicate via cellular phone through a variety of electronic media. It also common for
firearm traffickers and straw buyers to communicate through cellular phones and

electronic media. Many times drug dealers also act as firearms traffickers by utilizing the

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non-prohibited status (no felony convictions) of drug users to obtain firearms. Ultimately,
these firearms are used by the drug trafficking organization to protect and secure their
goods and territory. The participants in these organizations can use text (SMS) messaging,
phone calls, electronic mail, messaging applications, and various social media appliadtions
such as Facebook or Twitter.

7. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other investigators and witnesses. This affidavit
is intended to show merely that there is sufficient probable cause for the requested warrant -
and does not set forth all of my knowledge about this matter.

II. ITEMS TO BE SEARCHED

8. The Facebook pages belonging to Devin M. ANDERSON, and Robert L.
ROBINSON, herein described as a personal website that is accessed with a username and
password specific only to that page. The following Facebook Page URL, Facebook
Usernames, and associated Facebook Identifications Numbers: |

1. Devin M. ANDERSON
i. https://www.facebook.com/AndyKush
ii. Facebook Username: Dee Andy, Facebook User ID:

742840146

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2. Robert L. ROBINSON
i. https://www.facebook.com / Rob.BrewCity
ii. Facebook Username: Moo Straight, Facebook User ID:
1606170129
The applied-for warrant would authorize the search and recovery of evidence
particularly described in Attachment B.
III. PROBABLE CAUSE
INTERVIEW OF TIMOTHY O’BRIEN
9. On November 3, 2016, personnel from the ATF - Chicago Field Office, SA Craig
Fries and Task Force Officer (TFO) Jason Vachy interviewed Timothy J. O’BRIEN at his
residence located at 6848 29th Ave, Kenosha, WI regarding firearm traces pertaining to
firearms that he purchased. During the interview, O’BRIEN admitted to buying and selling
firearms for profit. O’BRIEN stated he often ee and sold them when he
needed money. O’BRIEN further explained he did not maintain any pagel of his firearm
transactions. O’BRIEN stated he would often use the website Armslist — an online firearms
brokerage, Facebook, and other social media based outlets for selling his firearms. At the
time of this interview, O’BRIEN stated he currently owned only one firearm, and he stated
that the firearm was in the custody of the Kenosha Police Department due to an on-going
criminal matter. It should be noted at the time of this Affidavit, Affiant is aware that

O'BRIEN has purchased a total of nineteen firearms dating back to May 2015.

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ANALYSIS OF THE FACEBOOK PROFILE OF TIMOTHY O’BRIEN

10. On September 20, 2017 ATF Special Agent (SA) Richard Connors obtained a
Federal Search Warrant for the contents of the Facebook profile belonging to Timothy J.
O'BRIEN (Facebook Username: TJ O’Brien; Facebook ID no. 1373617493).

11. Your Affiant learned of possible violations of Title 18, United States Code,
922(a)(6) (any person in acquisition of any firearm knowingly funda a false written or oral
statement intended to deceive the dealer), Title 18, United States Code, 922(d) (sale or
transfer of firearm to a prohibited person), Title 18, United States Code, 922(g) (possession
of a firearm by a prohibited person), and Title 21, United States Code, 841 (possession of a
controlled substance with the intent to distribute) after your Affiant evened the forensic
report for the Facebook profile belonging to O’BRIEN.

FACEBOOK PROFILE BELONGING TO ROBERT L. ROBINSON

12. On October 31, 2017, your Affiant reviewed a Facebook Forensic Report of the
contents of the Facebook profile belonging to Timothy J. O’BRIEN (Username TJ Obrien,
user ID no. 1373617493). All page numbers cited in this affidavit correspond to the page
number where the post can be located within the PDF document provided by Facebook.
All times referenced in the PDF provided by Facebook are in Coordinated Universal Time
(UTC), which is five (5) hours ahead of the Central Time Zone

13. The following page numbers document conversations between O’BRIEN and the

Facebook profile “Moo Straight (Facebook User ID: Moo Straight, Facebook ID no. —

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1606170129),” which belongs to Robert L. ROBINSON (b/m, DOB 07/26/1990).
ROBINSON was identified through the following investigation:
a. On November 2, 2017, Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), National Integrated Ballistic Information Network
(NIBIN) Contractor Jessica Suttle identified Robert L. ROBINSON as the
owner of the Facebook profile “Moo Straight (Facebook User ID: Moo
Straight, URL:https:/ /www.facebook.com/Rob.BrewCity, Facebook, ID
no. 1606170129).”
b. Contractor Suttle provided your Affiant with the Chicago Police
Department (CPD) booking photograph of ROBINSON (CPD IR no.
2293903). Your Affiant compared this photograph to those found on the
Facebook profile of “Moo Straight” and the two appear to match.
14,On August 19, 2016, at approximately 02:46 hours, O'BRIEN and MOO
STRAIGHT engaged in the following conversation about firearms. The conversation is
documented on page 16493. For any of the conversations below, parenthetical notes are
from the Affiant and not the original messages.

e MOOSTRAIGHT: How u make a gun fully auto?

e O'BRIEN: There are different ways for different types.

e O'BRIEN: Not on fb though lol

e MOOSTRAIGHT: (sent four (4) check marks)

e O’BRIEN: What you doin next weekend

e O'BRIEN: Gonna be in Mil or the Chi? (Referring to Chicago.)

e MOO STRAIGHT: Shit I should be in one of the two. Whichever tho. We
can link up

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e O'BRIEN: Fasho, just been movin the last week and still gotta bunch to get
done. But should be done in the next week. Got a house now too bro

e O'BRIEN: Lowkey house too in a nice ass spot

e¢ MOOSTRAIGHT: In the mil?

¢ O'BRIEN: Nah, Kenosha (It should be noted the address on file with the
Wisconsin DMV is in Kenosha, WI.)

15. On July 14, 2017 through July 16, 2017, O’BRIEN and MOO STRAIGHT engaged
in the following conversation about trading a firearm for marijuana.. The conversation is
documented on pages 16494 through 16502.

e O'BRIEN: Bout 30 min
e MOO STRAIGHT: (sent three (3) check marks)
~e O'BRIEN: Nvrmind, it just counted traffic now lol

e O'BRIEN: Accident. Gonna try and wiggle around

¢ MOOSTRAIGHT:Ok

e O'BRIEN: For sure don’t miss the traffic down here

e O'BRIEN: Fully and central

e MOO STRAIGHT: u not that far... it’s 2120 w Washington... hit me when
U downstairs I’m on house arrest I can’t come down. I'll have my girl
come grab it and give u that

e MOO STRAIGHT: I only got a zip and a half. I got thought I had more
tree here. Dee can give the half. That’s cool? (Your Affiant knows
through training and experience the term “zip” is often used to describe
an ounce of marijuana, and the term “tree” is often used to describe
marijuana.) ,

e O'BRIEN: Can I just come in?

e O'BRIEN: Western and north now

e MOO STRAIGHT: Yea come up fuck it. Hit me when u down there

e O'BRIEN: Fasho

e O'BRIEN: I gotta show it to you anyway (Your Affiant knows throught
training and experience he is likely referring to the firearm he is trading
for Marijauna.)

e O'BRIEN: Here

e (Approximately thirty (30) minutes later the conversation continues)

e O'BRIEN: Try and get R.LP. rounds if you can. Can’t get ballistics off em.
They break up when they hit (Your Affiant knows through training the

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R.LP or Radically Invasive Projectile is a brand of ammunition which is
known to be extremely lethal due to the fact the bullet is designed to
fragment on impact. This fragmentation creates multiple wound
channels, which makes the injury more severe and harder to survive.)

e O'BRIEN: I can order em offline too at the least

e MOO STRAIGHT: Okay cool... I wasn’t paying attention earlier though...
this joint different from the pic Devin sent me (MOO STRAIGHT is likely
using the term joint to describe the firearm O’BRIEN traded for the
marijuana.)

e O'BRIEN; What pic did he send you?

e O'BRIEN: It’s a good one. I carried it every day.

e O'BRIEN: If it was the black one that’s the one I showed you that I had.

e O'BRIEN: But the black one is like the biggest size you can get.

¢ MOO STRAIGHT: Yea a black one

e MOO STRAIGHT: My boy who grabbed it wanted that joint. It’s a 40?
(Referring to a .40 caliber firearm)

e O'BRIEN: 9 (Referring to 9 mm)

e MOOSTRAIGHT: The black one?

e O'BRIEN: And it’s a $700 piece with a $300 optic

e O'BRIEN: The light I have on it was 280 lol

e O'BRIEN: Yeah 9

e O'BRIEN: M&P Pro Series C.O.R.E. It’s a competition gun.

e MOO STRAIGHT: Why D send me a pic of the black one?

e O'BRIEN: Idk, I was telling him about it but I told him that was my new
one. |

e O'BRIEN: (sent the following photograph)

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Facebook Business Record

a 2 = i

 

Dee Andy
Actes go ~~ = ©
Your day
abwidlece mete UO

AY i can't afford it today

 

When you lookn?

  

Oo 8

e MOO STRAIGHT: His ass be trippin

e O'BRIEN: We can work somethin ou if you don’t like that one. I’m sure
there’s a show comin up soon. But for conceal that’s one of the best out
there.

e O'BRIEN: Especially running a heavy 9mm with +P (Your Affiant knows
from training and experience that the term “+P” is used to describe
ammunition that is over-pressured. An over-pressured round has a
higher muzzle velocity than standard ammunition.)

e (Approximately twelve (12) hours later the conversation continues)

e MOO STRAIGHT: Yooo

e O'BRIEN: Yo

e MOO STRAIGHT: U a do the black one for another two zips? Ucan keep
the light on the top

e O'BRIEN: Not on that one. That one’s too much. And it’s one I always
wanted.

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e O’BRIEN: There’s a show in Waukesha on the 4 and 5 of August. (It
should be noted, your Affiant confirmed the Badger Military Collectible
Show, a gun show put on by Bob and Rocco, was held August 4-5, 2017 in
Waukesha, Wisconsin.)

e MOOSTRAIGHT: 3 zips? Lol

e O'BRIEN: One in Watertown on the 28-30 too (It should be noted your
Affiant confirmed the Watertown Turner Hall Gun Show, a gun show put
on by CR Promotors, was held in Watertown, WI on July 28-30, 2017.)

e MOO STRAIGHT: And yea I’m gone need from that show too

e O'BRIEN: Shit

e O'BRIEN: And I get that one back?

¢ MOO STRAIGHT: Nah I need both

e MOO STRAIGHT: It’s good tree tho u keep the scope u gone make yo
money back and then some (Your Affiant knows through training and
experience the term “Good tree” is likely referring to the quality of the
marijuana.)

e O'BRIEN: (sent the following weblink: http://www.cabelas.com/product
/Smith-Wesson-reg-M-P-C-O-R-E-Pistols /1600229.uts)

e O'BRIEN: Hmmmm

e MOOSTRAIGHT: You prolyl get 300 where u for good tree

e MOOSTRAIGHT: That's 900 for it

e O'BRIEN: Yeah, I know. I can buy em for 2-250 though.

e O'BRIEN: I am enticed a little though...

e O'BRIEN: And it is fire. Hadn’t smoked in almost a week and I was
blazed yesterday lol

e MOO STRAIGHT: Lmao yeah it’s decent as fuck

e MOO STRAIGHT: We down we need some more joints too

e O’BRIEN: Damnit Moo

e MOOSTRAIGHT: That’s why I’m so thirsty lol

e O'BRIEN: Lol

e O'BRIEN: Lemme think about it man. She’s my baby so I’m gonna need a
min. Lol

e MOO STRAIGHT: (sent three (3) check marks)

e O'BRIEN: What about transportation? I don’t really wann have to do that
3 % hours of driving again if I do ;)

e MOO STRAIGHT: What about Milwaukee?

e O'BRIEN: If I did that would be a lot better

e O'BRIEN: When you off gay ass house arrest?

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e MOO STRAIGHT: Aug.

e O'BRIEN: Aw, hell yeah. Almost there.

e O'BRIEN: You gonna stay down there in the 34 Reich or you gonna come
back up to America?

e MOO STRAIGHT: Man I’m thinking about moving to a more progressive
area

e . MOO STRAIGHT: West coast maybe or down south

e O'BRIEN: I really like South Florida.

e O'BRIEN: RETARDED ass drivers though so need good insurance.

e O'BRIEN: But cali is great too. I know people out there and people that go
all the time. Never heard a complaint. But the new gun laws there suck
dick

e O'BRIEN: Like donkey dick

e O'BRIEN: O’BRIEN: Florida is gun friendly. Just they don’t allow open
carry.

e MOO STRAIGHT: Did u give my offer some consideration?

e O'BRIEN: Still pondering. Sorry man, not an easy decision lol

e O'BRIEN: Yo

e MOO STRAIGHT: What up

e O'BRIEN: Was tryn to see what was up with the rest of that but D just hit
me up (“D” is likely referring to the aforementioned male referred to as
“Devin” or “Dee.” Your Affiant later identified “D” as the
aforementioned Devin ANDERSON.)

16. On July 26, 2017, at approximately 20:09 hours, O’BRIEN sent the following
message to MOO STRAIGHT. The message is documented on page 16502.

e O'BRIEN: Happy bday brother (Your Affiant is aware that Robert L.
ROBINSON’s DOB is 07/26/1990.)

17. On November 23, 2017, MOO STRAIGHT posted the following two photographs

on his publicly visible Facebook profile:

11

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Moo Straight oo
Follow - November 23- @

Thankful for all my brothers... 9 BZ

gD Like f> Share

007%
Ahmari Hottimen 9 Ow”
Like - November 23 a1 5: 16am
ju) Bonnie Rich Parker Wherese y'all at
Like November 23 at 5:44pm
4 Domo Banks © & ¢°
Uke - November 23 af 5.50pm
Tiera Jackson Yall sill there?
Like November 23 al § 27pm
> Gy Mock Mizzo replied - 2 Replies

My, Jenny Bunnz My brotnertn 2 OO
Like - Novasnber 23 at 7-5? pm

Andrew Patana shi im thankdul for you too
Uke - November 23 at 3:34pm

e This photograph is captioned, “Thankful for all my brothers...”

12

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Moo Straight
Follow - November 23. 2

Allotem § &@ — with Dee Andy

Hugpesced Groups,

o

ia

THE REAL ABOUT RELATIONSHIPS
2 Mends - 166,407 members

 

e This is a photograph of ROBINSON and ANDERSON, and is captioned, “All
of em”. ROBINSON linked the post to the profile Dee Andy, belonging to
Anderson.

FACEBOOK PROFILE BELONGING TO DEVIN M. ANDERSON
18. On November 14, 2017, your Affiant reviewed a Facebook Forensic Report of
the contents of the Facebook profile belonging to Timothy J. O’BRIEN (Username TJ
Obrien, user ID no. 1373617493). All page numbers cited in this affidavit correspond to
the page number where the post can be located within the PDF document provided by
Facebook. All times referenced in the PDF provided by Facebook are in Coordinated
Universal Time (UTC), which is five (5) hours ahead of the Central Time Zone.

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19. The following paragraphs document conversations between O’BRIEN and
the Facebook profile “DEE ANDY (Facebook User ID: DEE ANDY, Facebook ID no.
742840146),” which belongs to Devin M. ANDERSON (b/m, DOB 12/12/1989). Agents
positively identified ANDERSON through the following investigation:

a. On May 06, 2008, DEE ANDY posted a photograph of himself holding a

diploma with the name “Devin ANDERSON?” clearly displayed.

ao".

PP Sen

Temrean Sereaone gavin why $9 you nokia any
‘ae

 

b. On November 14, 2017, Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), National Integrated Ballistic Information Network
(NIBIN) Contractor Jessica Suttle identified ANDERSON as the owner of
the Facebook profile “DEE ANDY (Facebook User ID: DEE ANDY,
Facebook ID no. 742840146).”

c. Contractor Suttle provided your Affiant with the Chicago Police
Department (CPD) booking photograph of ANDERSON (CPD IR no. —
2048187). SA Carlson compared this photograph to those found on the
Facebook profile of “DEE ANDY” and the two appear to match.

14,

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20. An NCIC criminal history query for ANDERSON reveals he has had four (4)

drug related arrests since 2010.
21. On May 29, 2015, at approximately 19:35 hours, O’BRIEN sent DEE ANDY

the following photograph. This photograph is documented on pages 17072 and 17073.

 

Photo id: 10207118536106467

22.On June 02, 2015, at approximately 21:49 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the sale of marijuana. The conversation is
documented on pages 17073 and 17074.

e DEE ANDY: Yo what's good bro

e DEE ANDY: Did you hit me?my phone off
e O'BRIEN: yo

e DEE ANDY: What up

e O'BRIEN: u at the crib?

e DEE ANDY: Yeah

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e O'BRIEN: fasho. Should I bring the dabs? (Your Affiant knows through

experience and training the term “dab” is often used to describe extracted
cannabinoids of the marijuana plant, often sold on wax paper.)

e DEE ANDY: Yea duhhbhh lol

e O'BRIEN: lol fasho

e DEE ANDY: White people smh

e O'BRIEN: I kno man...

e DEE ANDY: Lol

e O'BRIEN: so fuckn polite

e DEE ANDY: Haha

e O'BRIEN: leavn in like 15

e DEE ANDY: Ok

e DEE ANDY: Finna get my phone turned on

e O'BRIEN: k

e O'BRIEN: otw

23. On November 02, 2016, at approximately 22:24 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about a potential arrest of DEE ANDY for
possession with the intent to distribute marijuana. The conversation is documented on
pages 17075 through 17079.

e DEE ANDY: Just got outta jail

e DEE ANDY: This morning

e DEE ANDY: Sadly

e DEE ANDY: Owi

e O'BRIEN: You did?!

e DEE ANDY: Possession

e O'BRIEN: Ahhhbhh fuck bro...

e DEE ANDY: I was sleeping in my backseat

e O'BRIEN: Dude, I’m still wait on my shit. They haven’t filed nothing yet
e DEE ANDY: Drunk and the cops came and yanked me out the whip
e O'BRIEN: How tf they give you owi then?

e DEE ANDY: Bro

e DEE ANDY: I’m gonna fight the shit out of it

e DEE ANDY: The weed idk

e. O'BRIEN: Fuck yeah dude
16

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e O'BRIEN: How much?
e DEE ANDY: I had an eight in my pockets and a zip in my backpack
e O'BRIEN: Fuck 12
e O'BRIEN: And they just charged you with possession?
e DEE ANDY: Possession wit intent
e O'BRIEN: Fuck that shit
e O'BRIEN: What was their reason for pulling you out the car?
e DEE ANDY: I was parked in a parking lot of a apartment
e DEE ANDY: Private property
e O'BRIEN: You know anyone there or no?
e DEE ANDY: Someone called and said someone is passed out
e O'BRIEN: Fuck
e O'BRIEN: You need a lawyer
e DEE ANDY: Yea I know
e DEE ANDY: Tryna get the bread now
e O'BRIEN: Discovery immediately
e O'BRIEN: Everything.
e O'BRIEN: 911 call too
e O'BRIEN: As soon as the charges are filed
e O'BRIEN: You can file for discovery
e DEE ANDY: They already filed
e DEE ANDY: I went to court
e DEE ANDY: And posted bail
e O'BRIEN: Yeah, court just for bond right? A bond hearing?
e DEE ANDY: Im on jailbase
e DEE ANDY: Yea
e O'BRIEN: Whats jailbase?
e DEE ANDY: App
e O'BRIEN: Ankle?
e DEE ANDY: Ccap
e O'BRIEN: An app? Like on your fuckin phone?
e DEE ANDY: Yea
e DEE ANDY: Lol people see all your business
e DEE ANDY: If they know your name
e O'BRIEN: To like track you?
e DEE ANDY: All your cases everything
e O'BRIEN: Oh
e O'BRIEN: That’s fucked bro
17

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DEE ANDY: Right

DEE ANDY: I feel I can beat this

O'BRIEN: Your supposed to have to file and request for that shit at the pd
O'BRIEN: You can for sure.

O'BRIEN: Its gonna cost you prolly a couple racks though man

DEE ANDY: Yea I’m prepared the stack up some paper

O’BRIEN: I’m sure 500 down will get you started.

O'BRIEN: Its not that complicated. You got the police report?

DEE ANDY: They didn’t give me a copy

O'BRIEN: Go to the DA’s office and request everything they have.

DEE ANDY: Def gonna do that but I’ll have 500 by Friday so I'll go drop
500 for him to get started.

24. SA Connors determined that ANDERSON was arrested by Milwaukee Police on

10/30/2016 (MPD IR no. 163040033) for possession with the intent to distribute THC.

25.On July 06, 2017, at approximately 16:06 hours, O’BRIEN and DEE ANDY

engaged in the following conversation in reference to trading a firearm for marijuana. The

conversation is documented on pages 17057 through 17061.

O'BRIEN: Got an extra one if you need something (likely referring to an
“extra” firearm)

(Approximately twenty (20) hours later the conversation continues)

DEE ANDY: How much

DEE ANDY: Plug because I’m naked bro (Your Affiant knows through
trainging and experience the slang term “naked” is likely referring to
needing a firearm for protection)

DEE ANDY: I also got louuwuwuuuuuuuud (Your Affiant knows from
training and experience “loud” is a slang term commonly used to describe
marijuana)

O’BRIEN: 450 (possibly referring to the value of the firearm he is looking
to trade)

(Approximately three (3) hours later the conversation continues)
O’BRIEN: Yo

DEE ANDY: Just woke up

O'BRIEN: Fasho, figured with the 8 am text lol

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e O'BRIEN: So tonight or no?

e DEE ANDY: I can’t affard it today

e O'BRIEN: When you lookn?

e DEE ANDY: What kind is it

e O'BRIEN: The CCP

e O'BRIEN: I have another one but its like a 1300 dollar one lol
e O'BRIEN: (sent the following two (2) photographs)

Author 7) Otten (1379619683)
Seat 2017-07-08 01:50:32 UTC
? 6871617

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RE attach

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wntduppieg

 

Phote id: 20219865555817743

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e O'BRIEN: We could do 2 zips too of it’s loud (Your Affiant knows through
training and experience the term “zip” is often used to describe an ounce
of marijuana.)

e DEE ANDY: Yea

e O'BRIEN: Today

e O'BRIEN: Meant to put a ? on that lol

e DEE ANDY: Once I get good yea

e O'BRIEN: Fasho

e O'BRIEN: Just lemme know

e O'BRIEN: Gotta head to the city in the early evening but I’ll be back
tomorrow

26.On July 12, 2017, at approximately 04:12 hours, O'BRIEN and DEE ANDY
engaged in the following conversation about drug dealing activity and the sale of firearms.

This conversation is documented on pages 17061 through 17065.
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e O'BRIEN: Hey, you know anyone that can get shrooms?

e DEE ANDY: Not at the moment but if I come across some I'll let you
know

e O'BRIEN: Fasho, buddy is going camping this weekend lol

e DEE ANDY: Ok I'll look into that or acid

e O'BRIEN: Fasho

e O'BRIEN: lol

e O'BRIEN: I wish I could go

e DEE ANDY: How much shrooms

e DEE ANDY: ???

e DEE ANDY: Tj

_¢ O'BRIEN: Um, have to find out how much everyone else wants to know
for sure. Can know by tomorrow.

e O'BRIEN: Decent sized group of people.

e DEE ANDY: Ok I said a 7g but if more lemme know (Your Affiant knows
through experience, “7g” is likely referring to the quantity of shrooms
available in grams.)

e O'BRIEN: Fasho

e DEE ANDY: Ok

e DEE ANDY: He said he’ll call his guy in the morning

e O'BRIEN: Prolly more. They could have changed but last time everyone
wanted em.

e DEE ANDY: I can get them some (four (4) emoji of a snowflake) (The
snowflake is likely referring to Cocaine. Cocaine is commonly referred to
by the slang term “snow.”)

e DEE ANDY: Lol

e DEE ANDY: I got that now ha ha

e O'BRIEN: Lol, I don’t think they fuck with that

e DEE ANDY: Lol

e O'BRIEN: Grab this thing mane lol (likely referencing the aforementioned
firearm discussed in the prior conversation)

e O'BRIEN: I’m broke!

e O'BRIEN: Lol

e DEE ANDY: Me too why you think I got (snowflake emoji)

e O'BRIEN: I know, just fuckn around

e DEE ANDY: I may be able to hook you up with two zips

¢ O'BRIEN: Hey you know anyone doin that Postmates up by you

e DEE ANDY: Lemme call my brother

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O'BRIEN: I could do that, if it’s the usual quality.

DEE ANDY: Better

DEE ANDY: And we need fully automatic weapons asap too

O'BRIEN: Lol

DEE ANDY: Got buyers

DEE ANDY: Hit the show for me (likely referring to gun shows)
O'BRIEN: EB...

DEE ANDY: ???

O’BRIEN: That's pretty clear talking lol

DEE ANDY: (sends five (5) unknown emoji)

O'BRIEN: Remember my visit? (likely referring to the aforementioned
ATF interview that O'BRIEN references often in conversation)

O'BRIEN: Lol

DEE ANDY: You did just ask for shrooms lol

O'BRIEN: All good though. We’ll see each other.

O'BRIEN: Yeah but ya kno :

O’BRIEN: Lol

O'BRIEN: I can talk a camping trip and one time shrooms use to a jury
lmao

O'BRIEN: Worse case scenario lol

(Approximately sixteen (16) hours later O’BRIEN sends one last message)
O’BRIEN: Any luck?

27.On July 13, and July 14, 2017, O’BRIEN and DEE ANDY engaged in the

following conversation about trading a firearm for marijuana. This conversation is

documented on pages 17065 through 17607.

O’BRIEN: Need some green (Your Affiant knows through training and
experience the slang term “green” is referring to marijuana.)

DEE ANDY: What ya need

O'BRIEN: the two lol (referring to the aforementioned two (2) zips)
O'BRIEN: Still broke lol

DEE ANDY: Come grab em

DEE ANDY: Bring the (referring to the aforementioned firearm)

O'BRIEN: Fasho, in Chicago but leaving soon

DEE ANDY: You got that on you now?

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e O'BRIEN: Yeah

e DEE ANDY: Can you take to my brother (Your Affiant later determined
the identity as this “brother” as Robert L. ROBINSON.)

e DEE ANDY: He stay out there

e O'BRIEN: Where by?

e O'BRIEN: I mean I'd rather do it in Kenosha. Wi is better than IL

e DEE ANDY: 2120 w Washington (Your affiant determined Robert
ROBINSON was on house arrest at the time of this conversation. His
listed address was 2120 W. Washington Blvd., apt. no. 406, Chicago, IL
60612.)

e DEE ANDY: He can’t leave the house

e DEE ANDY: This would help me from having to take all the way there if
you already there

e DEE ANDY: ??

e DEE ANDY: (attempted to call O’BRIEN utilizing Facebook Messenger)

e O'BRIEN: One sec. At my dads

e DEE ANDY: Ok

e¢ (Approximately forty-five (45) minutes later the conversation continues)

e O'BRIEN: (has a two hundred and nine (209) second phone call with DEE
ANDY utilizing Facebook Messenger)

e DEE ANDY: (attempted to call O’BRIEN utilizing Facebook Messenger)

e DEE ANDY: Yea just take tomorrow

e O'BRIEN: Fasho. Thx man. Appreciate you bro

e (Approximately thirteen (13) hours later the conversation continues)

¢ DEE ANDY: What time can you drop that off

e O'BRIEN: YWhen’s the best time?

e O'BRIEN: Yo

e (Approximately an hour and a half later the conversation continues)

e O'BRIEN: (attempted to call DEE ANDY utilizing Facebook Messenger)

e O'BRIEN: Wakey wakey, hands off snakey

e¢ O'BRIEN: (attempted to call DEE ANDY utilizing Facebook Messenger)

e O'BRIEN: Pssssst

e O'BRIEN: Hey you

e O'BRIEN: Lol

e DEE ANDY: (had an eighty one (81) second phone call with O’BRIEN
utilizing Facebook Messenger)

e DEE ANDY: 2862 n Bartlett (Your Affiant conducted a search of a
common law enforcement database, which revealed Devin ANDERSON’s

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had a listed address of 2862 N. Bartlett Avenue, apartment 11, Milwaukee,
WI 53211.) ;

e O'BRIEN: (had a twenty-four (24) second phone call with DEE ANDY
utilizing Facebook Messenger) .

28.On December 05, 2017, ATF Senior Intelligence Research Specialist Stacey
Mangan conducted an analysis of the historical cell tower data of O’BRIEN’s cellular
phone, (630) 936-7474, for the date of July 14, 2017. Mangan determined the cellular phone
was located in Kenosha, WI at approximately 05:09 pm. The cellular device next registered
on a cellular tower located in Chicago, IL at 06:23 pm. The cellular next registered on a
cellular tower on Interstate 94 between Russell, IL and Antioch, IL at 08:23 pm. This
movement is consistent with the above documented conversation where O’BRIEN states he
is in Chicago to make the trade of the firearm for marijuana, before returning home to
Kenosha, WI.

29.On July 16, 2017, at approximately 00:07 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the firearm traded in the previous
conversation. This conversation is documented on page 17068.

_© O'BRIEN: The ball joint in the Lincoln is goin so I’m not mobile again til
Monday.

e DEE ANDY: Ok fasho,I thought you had a .40 not a 9 (Your Affiant knows
through training and experience ANDERSON is referencing the caliber of
the firearm traded.)

e O'BRIEN: No, the one I told you was a 1300 dollar one, the black that one
was a 9 too

e DEE ANDY: Ohh

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30. On July 17, 2017, at approximately 18:05 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the sale of marijuana. The conversation is
documented on pages 17068 and 17069.

e O'BRIEN: Yo

e O'BRIEN: Cool if I pick that up today?

e DEE ANDY: I got you when I get good again sold out, like a day or so
e DEE ANDY: I got you tho

e O'BRIEN: Fasho, just lemme know

31. On July 21, 2017, at approximately 19:21 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the sale of marijuana. The conversation is
documented on page 17069.

e O'BRIEN: You gonna be good today?
e DEE ANDY: Trying
e O'BRIEN: Fasho

32. On July 23, 2017, at approximately 19:47 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the sale of marijuana. The conversation is
documented on pages 17070 and 17071.

e O'BRIEN: Any luck yet man?

e DEE ANDY: Yea

e DEE ANDY: My bad

e DEE ANDY: I was out selling coco (Your Affiant knows through training
and experience “Coco” is a slang term commonly used to describe
Cocaine.)

e DEE ANDY: Still am

e DEE ANDY: But come late

e DEE ANDY: I got tou

e DEE ANDY: You

e O'BRIEN: Lol fasho. Might not be able to come tonight for sure but if not
tomorrow.

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e DEE ANDY: Ok

33. On July 26, 2017, at approximately 21:46 hours, O’BRIEN and DEE ANDY
engaged in the following conversation about the sale of marijuana. This conversation is
documented on pages 17071 and 17072.

e O'BRIEN: Yo
e DEE ANDY: Yo
e O'BRIEN: You good?
e DEE ANDY: Yea just got somn
e O'BRIEN: Cool if I come up?
e DEE ANDY: Yea
e O'BRIEN: Fasho. Leavn ina few. Can you text me the address again
e DEE ANDY: 2862 n Bartlett
e O'BRIEN: Just left
e O'BRIEN: 10-15 min
e O'BRIEN: Of course its pouring
« O'BRIEN: Phone is gettn low so I hope you're there and ready
e O'BRIEN: (had a twenty-one (21) second conversation with DEE ANDY
utilizing Facebook Messenger)
GENERAL FACEBOOK INFORMATION

34. Facebook owns and operates a free-access social networking website of the
same name that can be accessed at http://www.facebook.com. Facebook allows its
users to Seaitial accounts with Facebook, and users can then use their accounts to
share written news, photographs, videos, and other information with other Facebook
users, and sometimes with the general public.

35. Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This

information may include the user’s full name, birth date, gender, contact e-mail:
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addresses, Facebook passwords, Facebook security questions and answers (for
password retrieval), physical address (including city, state, and zip code), kesh
numbers, screen names, websites, and other personal identifiers. Facebook also assigns
a user identification number to each account.

36. Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. Facebook
assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that
user’s “Friends” and a “News Feed,” which highlights information about the user’s
“Friends,” such as profile changes, upcoming events, and birthdays.

37. Facebook users can select different levels of privacy for the communications
and information associated with their Facebook accounts. By adjusting these privacy
settings, a Facebook user can make information available only to himself or herself, to
particular Facebook users, or to anyone with access to the Internet, including people
who are not Facebook users. A Facebook user can also create “lists” of Facebook friends
to facilitate the application of these privacy settings. Facebook accounts also include
other account settings that users can adjust to control, for example, the types of

notifications they receive from Facebook.

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38. Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about
their whereabouts and actions, as well as links to videos, photographs, articles, and
other items available elsewhere on the Internet. Facebook users can also post
information about upcoming “events,” such as social occasions, by listing the event's
time, location, host, and guest list. In addition, Facebook users can “check in” to
particular locations or add their geographic locations to their Facebook posts, thereby
revealing their geographic locations at particular dates and times. A particular user’s
profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to
anyone who can view the user’s profile.

39. Facebook allows users to upload photos and videos, which may include any-
metadata such as location that the user transmitted when s/he uploaded the photo or
video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a
photo or video. When a user is tagged in a photo or video, he or she receives a
notification of the tag and a link to see the photo or video. For Facebook’s purposes, the
photos and videos associated with a user’s account will include all photos and videos
uploaded by that user that have not been deleted, as well as all photos and videos
uploaded by any user that have that user tagged in them.

40. Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient's

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“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a
Video Calling feature, and although Facebook does not record the calls themselves, it
does keep records of the dave of each call.

41. If a Facebook user does not want to interact with another user on Facebook,
the first user can “block” the second user from seeing his or her account.

42. Facebook has a “like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as
well as webpages or content on third-party (i.e., non-Facebook) websites. Facebook
users can also become “fans” of particular Facebook pages.

43. Facebook has a search. function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

44. Each Facebook account has an activity log, which is a list of the user’s posts
and other Facebook activities from the inception of the account to the present. The
activity log includes stories and photos that the user has been tagged in, as well as

connections made through the account, such as “liking” a Facebook page or adding

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someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

45. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

46. The Facebook Gifts feature allows users to send virtual “gifts” to their friends
that appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a
personalized message can be attached to each gift. Facebook users can also send each
other “pokes,” which are free and simply result in a notification to the recipient that he
or she has been “poked” by the sender.

47. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
, Marketplace.

48. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications (“apps”) on the Facebook platform.
When a Facebook user accesses or uses one of these applications, an update about that
the user’s access or use of that application may appear on the user’s profile page.

49.Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the
administrator or head of the group, who can invite new members and reject or accept

requests by users to enter. Facebook can identify all users who are currently registered

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to a particular group and can identify the administrator and/or creator of the group.
Facebook uses the term “Group Contact Info” to describe the contact information for
the group’s creator and/or administrator, as well as a PDF of the current status of the
group profile page.

50. Facebook uses the term “Neoprint” to describe an expanded view of a given
user profile. The “Neoprint” for a given user can include the following information
from the user’s profile: profile contact information; News Feed information; status
updates; links to videos, photographs, articles, and other items; Notes; Wall postings;
friend lists, including the friends’ Facebook user identification numbers; anges and
networks of which the user is a member, including the groups’ Facebook group
identification numbers; future and past event postings; rejected “Friend” requests;
comments; gifts; pokes; tags; and information about the user’s access and use of
Facebook applications.

51. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or
IP address on Facebook, including information about the type of action, the date and
time of the action, and the user ID and IP address associated with the action. For
example, if a user views a Facebook profile, that user’s IP log would reflect the fact that
the user viewed the profile, and would show when and from what IP address the user

did so.

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52. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account
number). In some cases, Facebook users may communicate directly with Facebook
about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain
records about such communications, including records of contacts between the user and
the provider’s support services, as well as records of any actions taken by the provider
or user as a result of the communications.

53. As explained herein, information stored in connection with a Facebook
account may provide crucial evidence of the “who, what, why, when, where, and how”
of the criminal conduct under investigation, thus enabling the United States to establish
and prove each element or alternatively, to exclude the innocent from further suspicion.
In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic
communications, and other data retained by Facebook, can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence. For
example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Facebook account at a relevant time. Further,

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Facebook account activity can show how and when the account was accessed or used.
For example, as described herein, Facebook logs the Internet Protocol (IP) addresses
from which users access their accounts along with the time and date. By determining
the physical location associated with the logged IP addresses, investigators can
understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows investigators to
understand the. geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation. Additionally, Facebook builds hes
location into some of its services. Geo-location allows, for example, users to “tag” their
location in posts and Facebook “friends” to locate each other. This geographic and
timeline information may tend to either inculpate or exculpate the Facebook Sasa
owner. Last, Facebook account activity may provide relevant insight into the Facebook
account owner's state of mind as it relates to the offense under investigation. For
example, information on the Ginsinidt account may indicate the owner’s motive and
intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

54. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information
concerning subscribers and their use of Facebook, such as account access information,

transaction information, and other account information.

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INFORMATION TO BE SEARCHED AND ITEMS TO BE SEIZED

55. I anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using
the warrant to require Facebook to disclose to the government copies of the records and
other information (including the content of communications) particularly described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate
the items described in Section II of Attachment B.

CONCLUSION

56. Based on the forgoing, I request that the Court issue the proposed search
warrant. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 USC. §§ 2703(a), (b)(1)(A)
& (c)(1)(A). Specifically, the Court of the Eastern District of Wisconsin is a district court
of the United States that has jurisdiction over the offense(s) being investigated, 18 U.S.C.
§ 2711(3)(A)(i). Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement

officer is not required for the service or execution of this warrant.

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ATTACHMENT A
Property to Be Searched:
This warrant applies to information between May 1, 2015 and present date
associated with the following Facebook pages:

1. https://www.facebook.com/AndyKush
Facebook Username: Dee Andy, Facebook User ID: 742840146

2. https://www.facebook.com/Rob.BrewCity
Facebook Username: Moo Straight, Facebook User ID: 1606170129

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' ATTACHMENT B

Particular items to be Seized:

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the
somibsion, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A:

1. All contact and personal identifying information, including: full name,
user identification number, birth date, gender, contact e-mail addresses, Facebook
passwords, Facebook security questions and answers, physical address (including city,
state, and zip code), telephone numbers, screen names, websites, and other personal
identifiers.

a All activity logs for the account and all other documents showing the
user’s posts and other Facebook activities;

a All photos uploaded by that user ID and all photos uploaded by any user
that have that user tagged in them;

| 4. All profile information; News Feed information; status updates; links to

videos, photographs, articles, and other items; Notes; Wall postings; friend lists,

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including the friends’ Facebook user identification numbers; groups and networks of
which the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments; gifts;
pokes; tags; and information about the user’s access and use of Facebook applications;

a All other records of communications and messages made or received by
the user, including all private messages, chat history, video calling history, and pending
“Friend” requests; 5

6. All “check ins” and other location information;

f All IP logs, including all records of the IP addresses that logged into the
account; |

8. All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user has “liked”;

x All information about the Facebook pages that the account is or was a
“fan” of;

10. All past and present lists of friends created by the account;

11. All records of Facebook searches performed by the account;

12. All information about the user’s access and use of Facebook Marketplace;

13. The types of service utilized by the user;

14. The length of service (including start date) and the means and source of

any payments associated with the service (including any credit card or bank account

number);

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15. All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all: records showing which Facebook
users have been blocked by the account;

16. All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including contacts with
support services and records of actions taken.

II.. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 18, United States Code, 922(a)(6) (any person in
acquisition of any firearm knowingly furnish a false written or oral statement intended
to deceive the dealer), Title 18, United States Code, 922(d) (sale or transfer of firearm to
a prohibited person), Title 18, United States Code, 922(g) (possession of a firearm by a
prohibited person), and Title 21, United States Code, 841 (possession of a controlled
substance with the intent to distribute), since May 1,2015 for each user ID identified on
Attachment A, information pertaining to the following matters:

iL. The relevant offense conduct, any preparatory steps taken in furtherance
of the scheme, communications between O’BRIEN, ANDERSON, ROBINSON and
others related to the relevant offense conduct of firearms trafficking;

es Evidence indicating how and when the Facebook account was accessed or
used, to determine the chronological and geographic context of account access, use, and

events relating to the crime under investigation and to the Facebook account owner;

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3B Evidence indicating the Facebook account owner’s state of mind as it
relates to the crimes under investigation;

4. The identity of the person(s) who created or used the user ID, including
records that help reveal the whereabouts of such person(s).

>. The identity of the person(s) who communicated with the user ID about
matters relating to relevant offense conduct of Title 18, United States Code, 922(a)(6)
(any person in acquisition of any firearm knowingly furnish a false written or oral
statement intended to deceive the dealer), Title 18, United States Code, 922(d) (sale or
transfer of firearm to a prohibited person), Title 18, United States Code, 922(g)
(possession of a firearm by a prohibited person), and Title 21, United States Code, 841
(possession of a controlled substance with the intent to distribute) including records

that help reveal their whereabouts.

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